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AO 245B (Rev. 02116) Judgment in Criminal Case
                       Sheet I


                                        UNITED STATES DISTRICT COURT
                                                           Middle District of Alabama

              UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                 V.
                ENESTO LERNARD IVORY
                                                                                    Case Number:          2:15CR195-MHH

                                                                                    USM Number:           15643-002

                                                                                    Andrew M. Skier
                                                                                    Defendants Attorney
THE DEFENDANT:
X pleaded guilty to count(s)       I & 3 of the Indictment on 11/4/2015.

U pleaded nolo contendere to count(s)
   which was accepted by the court.
U was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended               Count

21:846, 21:841(a)(1)             Conspiracy to Distribute a Controlled Substance                            4/20/2015
IX :924(c)(1 )(A)(i)             Possessing a Firearm During and in Relation to a Drug Trafficking          4/20/2015                     3
                                 Offense


       The defendant is sentenced as provided in pages 2 through                6         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act
                       Act of 1984.

U The defendant has been found not guilty on count(s)
X Count(s)      2 of the Indictment                      X is      U are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by thisjudgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                         February 18, 2016
                                                                         Date of imposition of Judgment


                                                                         /s/ MADELINE H. HAIKALA
                                                                         Signature of Judge



                                                                         MADELINE HUGHES                         U.S. DISTRICT JUDGE
                                                                         Name and Title of Judge


                                                                                     2/25/2016
                                                                         Date
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AU 245B (Rev. 02/16) Judgment in Criminal Case
                       Sheet 2— Imprisonment
                                                                                                    Judgment - Page     2   of   6
 DEFENDANT:                    ENESTO LERNARD IVORY
 CASE NUMBER:                  2:15CR195-01

                                                           IMPRISONMENT

          The defendant is hereby committed to the custody of the Federal States Bureau of Prisons to be imprisoned for a
 total term of:
 One hundred twenty three (123) months, This term consists of 63 months on Count land 60 months on Count 3 to be served
 consecutive to Count 1.




     X The court makes the following recommendations to the Bureau of Prisons:
          The Court recommends that defendant be designated to a facility as close to Southern Alabama as possible and that the
          defendant receive vocational training in auto mechanics.




     X The defendant is remanded to the custody of the United States Marshal.

     El The defendant shall surrender to the United States Marshal for this district:

          El at                                  El a.m.      El p.m.      on

          El as notified by the United States Marshal.

     El The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          El before 2 p.m. on

          El as notified by the United States Marshal.
          El as notified by the Probation or Pretrial Services Office.



                                                                 RETURN

 I have executed this judgment as follows:




          Defendant delivered on                                                        to

 a                                                  with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL


                                                                         By
                                                                                              DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 02/16) Judgment in a Criminal Case
                       Sheet 3 - Supervised Release
                                                                                                          Judgmenl—Page       3    of         6
 DEFENDANT:                   ENESTO LERNARD IVORY
 CASE NUMBER:                 2:15CR195-01
                                                         SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 Five (5) years. This term consists of 5 years on Count i and 5 years on Count 3. Both Counts shall be served concurrently.

          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
 LI The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, ifapplicable.)

 X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, (1 applicable.)

 X The defendant shall cooperate in the eolleetion of DNA as directed by the probation officer. (Check, if applicable.)


 fl The  defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 1690 1, ci seq.)
    as directed by the probation offieer, the Bureau of Prisons, or any state sex offender registration agency in whieh he or she resides,
        works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

 Li The defendant shall participate in an approved program for domestic violenee. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a eondition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must eomp ly with the standard eonditions that have been adopted by this court as well as with any additional eonditions
 on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
   I) the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)    the defendant shall report to the probation officer in a manner and frequeney directed by the court or probation officer;
   3)    the defendant shall answer truthfully all inquiries by the probation offleer and follow the instructions of the probation officer;
   4)    the defendant shall support his or her dependents and meet other family responsibilities;
   5)    the defendant shall work regularly at a lawful occupation, unless exeused by the probation officer for schooling, training, or other
         acceptable reasons;
   6)    the defendant shall notify the probation officer at least ten days prior to any change in residenee or employment;
   7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
         felony, unless granted permission to do so by the probation offleer;
  10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
  11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
  13)    as directed by theprobation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
         defendant's compliance with such notification requirement.
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AO 245B (Rev. 02116) Judgment in a Criminal Case
         Sheet 3C - Supervised Release
                                                                                             Judgment—Page    4     of
DEFENDANT:                  ENESTO LERNARD IVORY
CASE NUMBER:                2:15CR195-01

                                          SPECIAL CONDITIONS OF SUPERVISION

Defendant shall participate in a program approved by the United States Probation Office for substance abuse, which may
include testing to determine whether defendant has reverted to the use of drugs. Defendant shall contribute to the Cost of any
treatment based on ability to pay and the availability of third-party payments.
Defendant shall submit to a search of his person, residence, office or vehicle pursuant to the search policy of this Court.
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AO 245H (Rev. 02116) Judgment in a Criminal Case
         Sheet 5 - Criminal Monetary Penalties
                                                                                                        Judgment - Page     5    - of       6
 DEFENDANT:                         ENESTO LERNARD WORY
 CASE NUMBER:                       2:15CR195-0I
                                                   CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                                   Fine                                    Restitution
 TOTALS             $ 200.00                                       S0                                      S0



      The determination of restitution is deferred until             An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 E The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximatelyproportioned payment, unless specified otherwise in
      the priority order or percentae payment column below. However, pursuant to IX U.S.C. § 3664(1), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                 Total Loss*                    Restitution Ordered                         Priority or Percentage




 TOTALS                               S                                   S


 El Restitution amount ordered pursuant to plea agreement $

 E The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 E     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

            the interest requirement is waived for the       E fine E restitution,

            the interest requirement for the        E fine        restitution is modified as follows:

  Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA, and 11 3A oflitle IX for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
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AO 2458 (Rev. 02116) Judgment in a Criminal Case
         Sheet 6— Schedule of Payments
                                                                                                                 Judgment - Page       6     of           6
 DEFENDANT:                  ENESTO LERNARD IVORY
 CASE NUMBER:                2:15CR195-01

                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A X Lump sum payment of S 200.00                                due immediately, balance due

            fl not later than                                         , or
            X in accordance              E C, E D, fl E, or                      X F below; or

 B E Payment to begin immediately (may be combined with                       fl C,        fl D, or fl F below); or
 C     fl Payment in equal                            (e.g.. weekly, monthly, quarterly) installments of $                             over a period of
                            (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 9     fl Payment in equal                   (e.g., weekly, monthly, quarterly) installments of                           over a period of
               __- (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E     E Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     X Special instructions regarding the payment of criminal monetary penalties:
            Criminal monetary payments shall be made payable to the Clerk, U.S. District Court, Middle District of Alabama, P.O. Box 711,
            Montgomery, Alabama 3101.




 Unless the court has expressly ordered otherwise, ifthisjudgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 E Joint and Several
       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and eorresponding payee, if appropriate.




 E The defendant shalt pay the cost of prosecution.
 E The defendant shall pay the following court cost(s):
 X The defendant shall forfeit the defendant's interest in the following property to the United States:
       $54,885.00 in U.S. currency.

 Payments shall be applied in the following order: (])assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, () community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
